        CASE 0:20-cv-00147-JRT-KMM Doc. 33 Filed 01/11/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF MINNESOTA


MYCHAEL ANTHONY ARMSTRONG-
MORROW,                                           Civil No. 20-147 (JRT/KMM)

                    Plaintiff,

v.                                                  ORDER ON REPORT
                                                  AND RECOMMENDATION
CORRECTIONAL OFFICE COLE (MCF-ST
CLOUD), et al,

                    Defendants.


      Mychael Anthony Armstrong-Morrow, OID #244519, MCF-Faribault, 1101
      Linden Lane, Faribault, MN 55021, pro se plaintiff.

      Leah M Tabbert, MINNESOTA ATTORNEY GENERAL'S OFFICE, 445
      Minnesota Street, Suite 1100, Saint Paul, MN 55101, for defendant.

      United States Magistrate Judge Katherine Menendez filed a Report and

Recommendation on October 26, 2020. (ECF No. 29) No objections have been filed to

that Report and Recommendation in the time period permitted. Based on the Report

and Recommendation of the Magistrate Judge, on all of the files, records, and

proceedings herein, the Court now makes and enters the following Order.

      IT IS HEREBY ORDERED that

      1. Officer Cole’s motion to dismiss (ECF No. 14) is GRANTED;
       CASE 0:20-cv-00147-JRT-KMM Doc. 33 Filed 01/11/21 Page 2 of 2




      2. The official-capacity damages claims against Officer Cole are DISMISSED

         WITHOUT PREJUDICE for lack of subject-matter jurisdiction; and

      3. The individual-capacity claims against Officer Cole are DISMISSED, but

         plaintiff may file a motion to amend the complaint within 30 days of this

         Order.



Dated: January 11, 2021                              s/John R. Tunheim
at Minneapolis, Minnesota                            JOHN R. TUNHEIM
                                                     Chief Judge
                                                     United States District Court




                                          2
